Case 8:03-cr-00255-JSM-TBM Document 189 Filed 10/05/06 Page 1 of 2 PageID 969




                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                               TAMPA DIVISION


ARMANDO SANTOS,

       Petitioner,

v.                                                Case No. 8:06-cv-239-T-30TBM
                                                  (Crim. Case No.:8:03-cr-255-T-30TBM )
UNITED STATES OF AMERICA,

      Respondent.
___________________________________

                         AMENDED ORDER OF DISMISSAL

       THIS CAUSE comes before the Court sua sponte. A review of the file indicates that

the Petitioner has failed to respond to the Order to Show Cause (Dkt. #8) entered on August

23, 2006, in this matter. Because the Petitioner has failed to show good cause in writing or

respond to the Respondent’s assertions that the §2255 portion of his Petition is time-barred

and that the §2241 portion of his Petition lacks jurisdiction, the Court determines that this

case should be dismissed. It is therefore

       ORDERED AND ADJUDGED as follows:

       1.     This cause is dismissed.

       2.     The Clerk is directed to enter Judgment against the Petitioner ARMANDO

SANTOS and for the Respondent UNITED STATES OF AMERICA.

       3.     All pending motions are denied as moot.
Case 8:03-cr-00255-JSM-TBM Document 189 Filed 10/05/06 Page 2 of 2 PageID 970




          4.        The Clerk is directed to close this case.

          DONE and ORDERED in Tampa, Florida on October 5, 2006.




Copies furnished to:
Counsel/Parties of Record
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                                              Page 2 of 2
